Case 1:20-cv-22471-DPG Document 62 Entered on FLSD Docket 10/12/2020 Page 1 of 9




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                    CASE NO.: 20-cv-22471-DPG

  NORTH AMERICAN SUGAR INDUSTRIES,
  INC.,

            Plaintiff,
  v.

  XINJIANG GOLDWIND SCIENCE &
  TECHNOLOGY CO., LTD., GOLDWIND
  INTERNATIONAL HOLDINGS (HK) LTD.,
  DSV AIR & SEA INC., BBC CHARTERING
  USA, LLC and BBC CHARTERING
  SINGAPORE PTE LTD.,

            Defendants.
                                                 /

          DEFENDANTS’ MOTION TO STAY DISCOVERY AND PROCEEDINGS
        PENDING RESOLUTION OF DEFENDANTS’ JOINT MOTION TO DISMISS

            Defendants Goldwind International Holdings (HK) Ltd., DSV Air & Sea Inc., BBC

  Chartering USA, LLC, and BBC Chartering Singapore PTE Ltd. (collectively, “Defendants”), 1

  pursuant to Federal Rule of Civil Procedure 26 and this Court’s Notice of Court Practice (ECF

  No. 4), move the Court to enter an Order staying all discovery and deadlines in this action

  pending resolution of Defendants’ case-dispositive, joint motion to dismiss the Complaint (ECF

  No. 54). In that motion, Defendants argue that, as a threshold matter, this Court lacks subject

  matter jurisdiction over this action altogether, and that Plaintiff’s claims fail to state a claim for

  relief.    Because these circumstances provide good cause for the requested stay, which is

  reasonable and could save substantial judicial and party resources, the Court should grant this

  Motion. See Chudasama v. Mazda Motor Corp., 123 F.3d 1353, 1368 (11th Cir. 1997) (“If the
  1
         As of the date of this filing, Xinjiang Goldwind Science & Technology Co., Ltd. has not
  been served.
Case 1:20-cv-22471-DPG Document 62 Entered on FLSD Docket 10/12/2020 Page 2 of 9




  district court dismisses a non-meritorious claim before discovery has begun, unnecessary costs to

  the litigants and to the court system can be avoided.”).

                                           BACKGROUND

         On June 15, 2020, Plaintiff North American Sugar Industries Inc. (“Plaintiff”) filed the

  Complaint in this action, alleging various claims under Title III of the Cuban Liberty and

  Democratic Solidarity (LIBERTAD) Act of 1996 (22 U.S.C. §§ 6081–85) (the “Act”) (ECF No.

  1). 2 In the Complaint, Plaintiff alleges that Defendants “trafficked” in a port in Cuba that the

  Cuban government confiscated from Plaintiff by Defendants “coordinat[ing] at least two separate

  voyages that delivered and unloaded equipment [from China] at [the port], by way of Florida, for

  use in the Herradura Wind Farm Project.” Id. ¶ 103; see also id. ¶¶ 198–203, 216–17, 230–33.

         On August 31, 2020, Defendants filed a joint motion to dismiss for lack of subject matter

  jurisdiction and for failure to state a claim (“Joint MTD,” ECF No. 54). In the Joint MTD,

  Defendants argue that the Court lacks subject matter jurisdiction because (1) Plaintiff lacks

  constitutional standing to sue because the alleged injury is not fairly traceable to any one

  Defendant’s conduct and (2) Plaintiff cannot bring this action, and the Court lacks subject-matter

  jurisdiction over it, because Plaintiff recently filed for bankruptcy but did not disclose to its

  creditors and the Court the causes of action it pursues here. Defendants also argue in the Joint

  MTD that the Act precludes Plaintiff from bringing causes of action both under the Act and

  under common law (here, Plaintiff’s claim for civil conspiracy) for the same incidents of alleged

  trafficking, and that the Complaint fails to state a claim because it does not allege facts plausibly

  showing that Defendants knowingly and intentionally trafficked in the confiscated property (as

  defined in the Complaint).

  2
         The Complaint also asserts a claim for civil conspiracy, which is impermissible under the
  express terms of the Act. See ECF No. 54, at pp. 32-34.
                                                 2
Case 1:20-cv-22471-DPG Document 62 Entered on FLSD Docket 10/12/2020 Page 3 of 9




         Also on August 31, 2020, Defendants filed separate motions to dismiss for lack of

  personal jurisdiction. ECF Nos. 48, 52, and 53. After seeking and securing an unopposed

  enlargement of time to respond to the various Rule 12 motions, the deadline for Plaintiff’s

  responses was set October 14, 2020. ECF Nos. 56, 58. On September 29, 2020, Plaintiff moved

  both for leave to conduct jurisdictional discovery and to stay the deadline to respond to

  Defendants’ Rule 12(b)(2) motions, leaving the deadline to respond to the Joint MTD as October

  14, 2020. All activity, including but not limited to any jurisdictional discovery and the briefing

  on the Rule 12(b)(2) motions, should be stayed pending resolution of the Joint MTD.

                                             ARGUMENT

         A district court has ample power to control its docket and enjoys broad discretion to stay

  proceedings and discovery pending resolution of a case-dispositive motion. See Fed. R. Civ. P.

  26(b)(1), (2)(A)-(C); Chrysler Int’l Corp. v. Chemaly, 280 F.3d 1358, 1360 (11th Cir. 2002) (“At

  the outset, we stress the broad discretion district courts have in managing their cases.”); Johnson

  v. Bd. of Regents of Univ. of Ga., 263 F.3d 1234, 1269 (11th Cir. 2001) (observing that “a district

  court is entitled to establish proper pre-trial procedures and set an appropriate pre-trial schedule .

  . . .”). As the Eleventh Circuit has observed, “[i]f the district court dismisses a non-meritorious

  claim before discovery has begun, unnecessary costs to the litigants and to the court system can

  be avoided.” Chudasama, 123 F.3d at 1368 (holding that district court should have ruled on

  motion to dismiss before compelling discovery).

         The primary considerations are whether the party seeking the stay can demonstrate good

  cause and that the stay is reasonable. United States v. Med-Care Diabetic & Med. Supplies, Inc.,

  No. 10-81634-CIV, 2014 WL 12284078, at *1 (S.D. Fla. June 17, 2014) (granting motion to stay

  discovery until resolution of motion to dismiss). Determining good cause and reasonableness

                                                    3
Case 1:20-cv-22471-DPG Document 62 Entered on FLSD Docket 10/12/2020 Page 4 of 9




  requires “the Court to take a ‘preliminary peek’ at the merits of the motion to dismiss to see if it

  appears to be clearly meritorious and truly case dispositive.” Id. (internal quotation marks and

  citation omitted).

         Here, the Joint MTD establishes that the Court does not have subject matter jurisdiction

  over this action and that Plaintiff’s Complaint otherwise fails to state a claim. In circumstances

  like this, courts stay all proceedings until resolution of a motion like the Joint MTD. E.g.,

  Lawrence v. Governor of Ga., 721 F. App’x 862, 864–65 (11th Cir. 2018) (holding that the

  district court did not abuse its discretion in granting the defendant’s motion to stay discovery and

  pre-trial deadlines pending a decision on a motion to dismiss). In Lawrence, the Eleventh Circuit

  lauded the district court for “identif[ying] [its] warnings in Chudasama, and heed[ing] them” as

  the   complaint “support[ed] the district court’s reluctance to allow the relevant pretrial

  procedures to begin, as . . . [m]any . . . issues were apparent from the face of the complaint, such

  as the district court’s likely lack of subject matter jurisdiction.” Id. (emphasis added); see also

  Bufkin v. Scottrade, Inc., 812 F. App’x 838, 842 (11th Cir. 2020) (affirming stay of discovery

  pending resolution of defendant’s Rule 12(b)(1) and Rule 12(b)(6) motions to dismiss); Kleiman

  v. Wright, No. 18-CV-80176-BB, 2018 WL 8620096, at *1 (S.D. Fla. Aug. 2, 2018) (granting

  motion to stay proceedings and discovery pending a decision on a motion to dismiss);

  Chevaldina v. Katz, No. 17-22225-CIV, 2017 WL 6372620, at *2 (S.D. Fla. Aug. 28, 2017)

  (same). Like the underlying motions in Lawrence and Bufkin, a “preliminary peek” at the Joint

  MTD reveals meritorious grounds that this Court lacks subject matter jurisdiction and this case

  should be completely disposed of at the outset.

         There are two grounds upon which the Court lacks subject matter jurisdiction over this

  case. First, Plaintiff’s alleged injury altogether is not fairly traceable to any Defendants’ conduct

                                                    4
Case 1:20-cv-22471-DPG Document 62 Entered on FLSD Docket 10/12/2020 Page 5 of 9




  as required by U.S. Const. art. III, § 2 because it occurred between 1959 and 1960, and Plaintiff

  has no possessory interest in the confiscated property – Plaintiff is in the exact same position

  today as it was before the two voyages at issue occurred. See Joint MTD, at 10-16. Second, the

  Court is deprived of jurisdiction and Plaintiff is judicially estopped from pursuing the claims

  related to the confiscated property because Plaintiff failed to disclose these interests to the Court

  and its creditors as required during its 2019 bankruptcy proceedings, and therefore has no

  interest in the claims. Id. at 16-29.

         There are other grounds, in addition to lack of subject matter jurisdiction, why this action

  fails at the outset. First, the Act’s “Election of Remedies” provision precludes plaintiff from

  bringing claims under both the Act and Florida common law. 22 U.S.C. § 6082(f). Plaintiff

  impermissibly sued Defendants under the Act and for civil conspiracy, and section 6082 of the

  Act bars the Plaintiff from bringing both claims. See Joint MTD at 32-34. Importantly, when

  specific jurisdiction over the Defendants is challenged, as here, this Court should first determine

  whether the Complaint states claims for relief. Taylor v. Moskow, 717 F. App’x 836, 839–40

  (11th Cir. 2017) (“In Florida, before a court addresses the question of whether specific

  jurisdiction exists under the long-arm statute, the court must determine whether the allegations of

  the complaint state a cause of action.”) (citing PVC Windoors, Inc. v. Babbitbay Beach Const.,

  N.V., 598 F.3d 802, 808 (11th Cir. 2010).            Plaintiff alleges that the Court has specific

  jurisdiction over Defendants because they engaged in business related to its cause of action and

  committed a tort in Florida. See §§ 48.193(1)(a)(1) and (2). But if Plaintiff elects to pursue its

  remedies under the Act, and not for civil conspiracy, then the civil conspiracy claim cannot form

  the basis for establishing personal jurisdiction over any Defendant. Second, the Complaint

  alleges no plausible factual allegations that Defendants “trafficked” in all of the confiscated

                                                   5
Case 1:20-cv-22471-DPG Document 62 Entered on FLSD Docket 10/12/2020 Page 6 of 9




  property for which Plaintiff claims $97.37 million in damages. Instead, the Complaint only

  alleges that Defendants trafficked in the confiscated port within the confiscated property, which

  was valued at $2.228 million. The remaining allegations in the Complaint consist of conclusory

  recitations of the elements of a cause of action under the Act. See Joint MTD at 29-32.

  Therefore, entering a stay to consider the Joint MTD would also allow the Court to first

  determine whether a conspiracy cause of action is stated and is a proper basis for specific

  personal jurisdiction.

         Here, a stay of all proceedings pending resolution of the Joint MTD would also comport

  with well-established Eleventh Circuit precedent and prevent wasting judicial and party

  resources on non-meritorious claims. And the possibility of such unnecessary expense and

  efforts is not hypothetical; Plaintiff has already demonstrated its intent to proceed with seeking

  jurisdictional discovery while the Joint MTD is pending. See generally ECF No. 59. In addition,

  the Court extended the date by which Plaintiff is to respond to Defendants’ Rule 12(b)(2)

  motions until after the date in which it is to respond to the Joint MTD. ECF 61. It would be

  wasteful to take discovery and otherwise litigate the case when the Joint MTD will in all

  likelihood be fully briefed before any jurisdictional discovery is complete or the Rule 12(b)(2)

  motions are ripe for decision.

         Given these circumstances, ample authority confirms that Defendants should not be

  forced to endure this undue burden and expense until the Joint MTD is resolved. Chudasma, 123

  F.3d at 1368 (“[D]elaying ruling on a motion to dismiss . . . a [non-meritorious] claim until after

  the parties complete discovery encourages abusive discovery and, if the court ultimately

  dismisses the claim, imposes unnecessary costs.”); Kleiman, 2018 WL 8620096, at *2

  (recognizing that staying the proceedings and discovery “under the particular circumstances

                                                  6
Case 1:20-cv-22471-DPG Document 62 Entered on FLSD Docket 10/12/2020 Page 7 of 9




  present here . . . [and] the high burden on engaging in discovery, much of which will involve

  locating evidence and witnesses [outside of the U.S.], during the pendency of Defendant’s

  [m]otion to [d]ismiss that seeks dismissal on various grounds – including standing . . . –

  outweighs the potential harm to Plaintiffs”) (emphasis added); Chevaldina, 2017 WL 6372620,

  at *3 (“Defendants should not be required to suffer monetary burdens or expenses when it

  appears that Plaintiff’s claims may fail for several reasons as a matter of law.”).

                                            CONCLUSION

         For the foregoing reasons, the Court should enter an Order granting this Motion and

  staying all proceedings until resolution of the Joint MTD.

              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)

         Prior to filing this Motion, Defendants’ counsel conferred with Plaintiff’s counsel and is

  authorized to represent to the Court that Plaintiff opposes the relief requested herein.


  Dated: October 12, 2020

                                 Respectfully submitted,

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                                                    7
Case 1:20-cv-22471-DPG Document 62 Entered on FLSD Docket 10/12/2020 Page 8 of 9




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                                       8
Case 1:20-cv-22471-DPG Document 62 Entered on FLSD Docket 10/12/2020 Page 9 of 9




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2020, the foregoing was filed with the Clerk of Court

  using CM/ECF, which will serve a Notice of Electronic Filing on all counsel of record.


                                              By: /s/ Allen P. Pegg
                                                    Allen P. Pegg




                                                 9
